&lt;div class="content"&gt;
    &lt;div class="html-children"&gt;
        &lt;div&gt;&lt;header&gt;&lt;p id="Page" data-paragraph-id="35c0804c86"&gt; 1 &lt;/p&gt;&lt;center&gt;&lt;b&gt;&lt;/b&gt;&lt;p data-paragraph-id="dcbb440543"&gt; Fisher &lt;br /&gt; v. &lt;br /&gt; People &lt;/p&gt;&lt;p data-paragraph-id="1afbc732d1"&gt;No. 23SC789&lt;/p&gt;&lt;p data-paragraph-id="d3fe84847c"&gt;&lt;span data-sentence-id="d3fe84847c" quote="false" data-paragraph-id="d3fe84847c"&gt;Supreme Court of Colorado&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="4afc352e0c"&gt;July 22, 2024&lt;/p&gt;&lt;/center&gt;&lt;/header&gt;&lt;br /&gt;&lt;!--OPINION TEXT STARTS HERE--&gt;
 &lt;p id="MajorityOpinion" data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="c8e2d97753"&gt;&lt;span data-sentence-id="f5eff0be3c" quote="false" data-paragraph-id="c8e2d97753"&gt; Held pending 22SC738&lt;em&gt;, Sellers v. People;&lt;/em&gt; 23SC328&lt;em&gt;, Ward v. People;&lt;/em&gt; and 23SC381, &lt;em&gt;McDonald v. People&lt;/em&gt; &lt;/span&gt;&lt;/p&gt;&lt;/div&gt;
    &lt;/div&gt;
&lt;/div&gt;